  Case 1:18-bk-10071         Doc 102       Filed 10/23/18 Entered 10/23/18 12:14:07         Desc Main
                                          Document      Page 1 of 4


                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF RHODE ISLAND
____________________________________

In Re: David W. Wagner
                                                             Case No. 18-10071
                        Debtor.                              Chapter 7
_______________________________________

                                    MOTION FOR RELIEF FROM
                                  AUTOMATIC STAY PURSUANT TO
                                    11 U.S.C. SECTION 362(d)(1)
                 Wells Fargo Bank, NA dba Wells Fargo Auto, a secured creditor in the above-captioned

bankruptcy case, by its counsel, Lynda Laing, Esq., as and for a Motion for Relief from Automatic Stay

pursuant to 11 U.S.C. Section 362(d)(1), states the following as grounds therefore:

          1.     On January 17, 2018, the debtor, above-named, filed a voluntary petition in Bankruptcy

under Title 11, Chapter 7, U.S.C., in the United States Bankruptcy Court, for the District of Rhode

Island.

          2.     The Court has jurisdiction to entertain the motion under 28 U.S.C. Section 157.

          3.     Wells Fargo Bank, NA dba Wells Fargo Auto is a secured creditor herein and the holder

of a duly perfected purchase money security interest in one (1) 2011 Volvo XC60 with VIN # ending

4226 (hereinafter "collateral") owned by, and upon information and belief, in the possession and control

of the debtor, above-named.

          4.     Pursuant to 11 U.S.C. Section 362, upon the commencement of the instant bankruptcy

case, Wells Fargo Bank, NA dba Wells Fargo Auto is stayed from taking any action against the debtor

to obtain possession of the collateral.

          5. On April 5, 2016, the debtor David W. Wagner, entered into a Retail Installment Contract

(hereinafter "Contract") with International Motor Group (hereinafter "dealer") for the purchase of the

collateral. Pursuant to the terms and conditions of the Contract, Wells Fargo Bank, NA dba Wells

Fargo Auto was granted a purchase money security interest in the collateral. Thereafter, the Contract,
  Case 1:18-bk-10071        Doc 102     Filed 10/23/18 Entered 10/23/18 12:14:07              Desc Main
                                       Document      Page 2 of 4


Re: David W. Wagner                                                                  BK # 18-10071
pursuant to its terms, was duly assigned by the dealer to Wells Fargo Bank, NA dba Wells Fargo Auto

for good and valuable consideration. Wells Fargo Bank, NA dba Wells Fargo Auto is now the holder

and owner of said Contract.

       6.      As of October 11, 2018, the debtor was in default of his payment obligations to Wells

Fargo Bank, NA dba Wells Fargo Auto pursuant to the terms and conditions of the Contract as follows:

               a.     Payoff balance: $17,815.11

               b.     Pre- and post-petition arrearages: $6,514.34 (together with Contractual late
                      charges)

       (NOTE: The foregoing does not represent any amount which may be due for costs and

attorneys' fees as may be allowed by the Court.)

       7.      Upon information and belief, the value of the collateral is depreciating.

       8.      Upon information and belief, the Movant is in possession of the collateral.

       9.      The debtor has failed to elect to redeem the collateral and has not sought to reaffirm his

               underlying obligations to Wells Fargo Bank, NA dba Wells Fargo Auto

       10.     It is respectfully asserted that Wells Fargo Bank, NA dba Wells Fargo Auto’s interest in

the collateral will not be adequately protected if the automatic stay is allowed to remain in effect.

       11.     Accordingly, sufficient cause exists to grant Wells Fargo Bank, NA dba Wells Fargo

Auto relief from the automatic stay herein which includes, but is not limited to, the following:

               a.      The debtor is in default under the terms and conditions of the Retail Installment

Contract.

               b.      The security interest of Wells Fargo Bank, NA dba Wells Fargo Auto with

respect to the collateral is not adequately protected as envisioned under 11 U.S.C. Section 361.

               c.      The debtor does not possess an equity interest in the collateral.

               d. The collateral is not necessary for an effective reorganization of a bankruptcy estate.
  Case 1:18-bk-10071         Doc 102      Filed 10/23/18 Entered 10/23/18 12:14:07           Desc Main
                                         Document      Page 3 of 4


Re: David W. Wagner                                                                    BK # 18-10071
        12.     It is respectfully submitted that Wells Fargo Bank, NA dba Wells Fargo Auto is in a

more advantageous position to obtain an optimum price for the sale of the collateral thereby increasing

the possibility of generating a surplus for distribution to creditors of the estate.

        13.     No prior application for the relief requested herein has been made.

        WHEREFORE, Wells Fargo Bank, NA dba Wells Fargo Auto respectfully requests that the

Court issue an Order, pursuant to 11 U.S.C. Section 362 granting Wells Fargo Bank, NA dba Wells

Fargo Auto relief from automatic stay in order to obtain possession of its collateral, and for such other

and further relief as to the Court may seem just and proper.

DATED: October 22, 2018
                                                        WELLS FARGO BANK, NA DBA WELLS
                                                        FARGO AUTO
                                                        By its counsel:


                                                        ___/s/ Lynda Laing_______________
                                                        Lynda Laing, Esq. #3082
                                                        Strauss, Factor, Laing & Lyons
                                                        One Davol Square, Suite 305
                                                        Providence, RI 02903
                                                        Tel. (401) 456-0700
                                                        Fax. (401) 421-4730
         Within fourteen (14) days after service, if served electronically, as evidenced by the
certification, and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served by mail or
other expected means specified, any party against whom such paper has been served, or any other party
who objects to the relief sought, shall serve and file an objection or other appropriate response to said
paper with the Bankruptcy Court Clerk’s Office, 380 Westminster Street, 6th Floor, Providence, RI
02903, (401) 626-3100. If no objection or other response is timely filed, the paper will be deemed
unopposed and will be granted unless: (1) the requested relief is forbidden by law; (2) the requested
relief is against public policy; or (3) in the opinion of the Court, the interest of justice requires
otherwise.
  Case 1:18-bk-10071        Doc 102     Filed 10/23/18 Entered 10/23/18 12:14:07            Desc Main
                                       Document      Page 4 of 4


Re: David W. Wagner                                                                BK # 18-10071


                                  CERTIFICATION OF SERVICE

       I hereby certify that on October 23, 2018, I electronically filed the Motion with the Clerk of the

Bankruptcy Court for the District of Rhode Island using the CM/ECF System. The following

participants have received notice electronically; Office of the US Trustee, Russell Raskin, Esquire,

Stacy Ferrara, Esquire, Peter Furness, Esquire, Elizabeth Lonardo, Esquire, Matthew McGowan,

Esquire, Catherine Eastwood, Esquire, and Charles Pisaturo, Jr., Esquire; and I hereby certify that I

have mailed by United States Postal Service, postage prepaid, the document and a copy of the Notice of

Electronic Filing to the following:


David W. Wagner                                      James Wagner
55 Downing Street                                    55 Downing Street
East Greenwich, RI 02818                             East Greenwich, RI 02818

American Express National Bank                       State of Rhode Island – Division of Taxation
c/o Becket & Lee LLP                                 Rhode Island Division of Taxation
PO Box 3001                                          Bankruptcy Unit
Malvern, PA 19355                                    One Capitol Hill
                                                     Providence, RI 02908



                                                                ____/s/ Lynn Morrison
                                                                Lynn Morrison
